

P.D. v LaCour-Gayet (2021 NY Slip Op 03260)





P.D. v LaCour-Gayet


2021 NY Slip Op 03260


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Mendez, JJ. 


Index No. 20207/13E Appeal No. 13897&amp;M-1329 Case No. 2020-03680 

[*1]P.D., an Infant by His Mother and Natural Guardian, Tynecca Velez, et al., Plaintiffs-Respondents-Appellants,
vFrancois LaCour-Gayet, M.D., Defendant, Montefiore Medical Center, Defendant-Appellant-Respondent.


Wilson Elser Moskowitz Edelman &amp; Dicker, LLP, White Plains (Alan Friedberg of counsel), for appellant-respondent.
Jonah Grossman, Jamaica (Lawrence B. Lame of counsel), for respondents-appellants.



Order, Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered on or about May 8, 2020, which granted defendant Montefiore Medical Center's motion to set aside the verdict awarding plaintiff $1 million for past pain and suffering and $1 million over 41 years for future pain and suffering to the extent of ordering a new trial on damages unless plaintiff stipulated to a reduction of the awards for past and future pain and suffering to $150,000 and $450,000, respectively, unanimously modified, on the facts, to further reduce the award for future pain and suffering to $100,000, and otherwise affirmed, without costs.
The award for future pain and suffering deviates materially from what would be reasonable compensation (see  CPLR 5501[c]).
In view of this finding, we need not reach the remaining arguments.M-1329 - 	P.D., an infant by his mother and natural 	guardian, Tynecca Velez v Francois LaCour-	Gayet, M.D. 
Motion to strike Points A-N of plaintiff's reply brief as improper 	surreply granted.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








